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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


GINERVA MOEHRLIN,

                       Plaintiff,

v.                                                      Case No: 6:17-cv-913-Orl-40TBS

TD BANK USA, N.A. and TARGET
CORPORATION,

                       Defendants.
                                         /

                                         ORDER

        The Court has been advised by the parties that the above-styled action has been

settled. (Doc. 27). Accordingly, pursuant to Local Rule 3.08(b) of the Middle District of

Florida, it is

        ORDERED and ADJUDGED that this case is hereby ADMINISTRATIVELY

CLOSED subject to the right of any party to file within sixty (60) days a stipulated form of

final order or judgment or, on good cause shown, to move the Court to re-open the case

for further proceedings. Failure to timely file a stipulated form of final order or judgment

within sixty (60) days will result in the case being dismissed without prejudice without

further notice to the parties. The Clerk is DIRECTED to administratively close the file.

        DONE AND ORDERED in Orlando, Florida on December 7, 2017.




Copies furnished to:
Counsel of Record
